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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT



145 SISSON AVENUE, LLC

                    PLAINTIFF                      CIVIL ACTION NO.:

V.                                                 3:23-CV-00903-MPS

ARON PURETZ

                    DEFENDANT
                                                   JUNE 25 , 2025


            MOTION FOR TURNOVER ORDER AND FORECLOSE INTERESTS

       Plaintiff 145 Sisson Avenue, LLC moves for a turnover

order and to foreclose Defendant Aron Puretz' interests in the

following entities:

                  Hoyt Bedford Manager LLC
                  Hoyt Bedford Limited Partnership
                  Paxe Garden GP LLC
                  Paxe Garden Limited Partnership
                  Clemens Manager LLC
                  Clemens Place CT Limited Partnership

for the following reasons:

       1.      This court ordered a $2,152,787.36 default judgment

in favor of Plaintiff 145 Sisson Avenue, LLC against Aron

Puretz on April 24, 2024         (#34).

       2.      The $2 ,15 2 ,787. 36 default judgment was docketed on

April 26, 2024      (#37). Interest continues to accrue at 5.27%.

This means the following amount is due on the judgment:
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           4/24/2024         Judgment including costs                                                 $2,153,209.36
           6/25/2025         Interest at 5.17%                                                           $130,230.23
                             Total                                                                    $2,283,439.59

           3.         Plaintiff moved for charging orders on May 3, 2024
 ( #41) .

           4.        The motion was referred to Magistrate Judge Thomas

0. Farrish (#45).

           5.         Plaintiff filed for an additional charging order on

May 16, 20 2 4 (#47).

           6.        This motion for an additional charging order was

also referred to Magistrate Judge Thomas 0. Farrish (#48).

           7.        Magistrate Judge Thomas 0. Farrish issued a

recommended ruling on June 17, 2024 (#58).

           8.        Plaintiff partially objected to the recommended

ruling on June 20, 2024                             (#60).

           9.        This court approved Magistrate Judge Thomas 0.

Farrish's recommended ruling on June 3, 2025 (#74).

           10.       Plaintiff filed a motion to compel Defendant Aron

Puretz to respond to Plaintiff's June 18, 2024 standard post-

judgment interrogatories and June 28, 2024 requests for

production (#67).

           11.       The motion also asked the third parties be compelled

to respond to the June 18, 2 024 standard post-judgment

interrogatories.

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            12.        The court ordered a response by August 31, 2024

 ( #68) .

            13.        Defendant Aron Puretz and the third parties have not

responded as the court has ordered. No communication of any

kind has been received from any entity.

           14.         Plaintiff filed an affidavit of post-judgment

efforts on June 9, 2025 (#75), which is incorporated by

reference.

           15.        Since that time, Plaintiff has not located any

additional assets nor has it received any funds.

           16.        No funds and no financial information has been

received from any of the entities where a charging order was

issued.

           17.        Defendant Aron Puretz has not responded to anything

in this lawsuit (and has pled guilty to engaging in an

extensive, multi-year conspiracy to fraudulently obtain over

$54.7 million in loans and to fraudulently acquire multifamily

and commercial properties).

           18.        Defendant Aron Puretz was sentenced by the United

States District Court for the District of New Jersey on

October 30, 2024. This fact appears of record by affidavit

 (#71).




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           19.        Plaintiff does not know the extent of Defendant Aron

Puretz' interest in the six entities. It could be nothing and

it could be 100%.

           20.        The entities who own real estate (Hoyt Bedford

Limited Partnership, Paxe Garden Limited Partnership and

Clemens Place CT Limited Partnership) appear to be "under

water" so their mortgage debts exceed the value of their

assets.

           21.        Given how real estate investment limited

partnerships are traditionally structured, it is unlikely

Defendant Aron Puretz has a significant interest in any of the

three limited partnerships. Most of the ownership interests

would be owned by third party investors (whose identities and

ownership interests are unknown to Plaintiff).

           22.        If the court allows foreclosure of Defendant Aron

Puretz' interest in the six entities, Plaintiff requests the

court value Defendant Aron Puretz' interests at $1,000 per

entity (for a total of $6,000 credit to be given against the

judgment) .


           Plaintiff 145 Sisson Avenue, LLC moves to foreclose and

this court turnover Defendant Aron Puretz' interests in the

indicated entities to Plaintiff.




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                     NOTICE TO ANY THIRD PARTIES:
                You are hereby notified of your right pursuant to
                    Connecticut General Statutes §52-356c to a
                determination of any interest you may claim in the
               property which is the subject of this turnover order.
           Any person claiming an interest in Defendant Aron Puretz'

interests in these entities should be aware a hearing will be

held on any such claim on August 25, 2025 at 2:00 pm in

Courtroom Three, 450 Main Street, Hartford, Connecticut before

Chief Judge Michael P. Shea.                                      A copy of the scheduling order

is attached. Any such claim should be filed with the court

before the hearing and a copy provided to Plaintiff's counsel.

           The court is reminded Connecticut General Statutes §52-

356b(d) provides "Unless directed to a person who is before

the court, any turnover order shall be personally served and

sha11 contain a notice that £ai1ure to comp1y therewith may

subject the person served to being he1d in contenq::,t 0£ court."

[emphasis added]

           This matter does not involve disputed issues of law, so

no brief is required under Local Rule of Civil Procedure

7 (a) ( 1).




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                                                                                                                  Avenue,

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                                           Mobile: (860) 543-4372
                                           Fax: (860) 249-7500
                                           Email: PTL@HPLowry.com
                                           Federal Bar# CT05955


                                            CERTIFICATE OF SERVICE

       I hereby certify that a copy of this was mailed on this
25 th day of June, 2025 to:

Aron Puretz
309 Miller Road
Lakewood, New Jersey 08701-2338

Aron Puretz
FCI Otisville
Two Mile Drive
Otisville, NY 10963

Clemens Manager, LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

Clemens Manager, LLC
139 Ocean Avenue
Lakewood, NJ 08701

Clemens Place CT Limited Partnership
526 Westchester Road
Colchester, CT 06415-2228

Clemens Place CT Limited Partnership
3 E Evergreen
New City, NY, 10956

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Hoyt Bedford Limited Partnership
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109

Hoyt Bedford Limited Partnership
1 39 Ocean Avenue
Lakewood, NJ 08701

Hoyt Bedford Manager LLC
Agent: VCORP Services, LLC
108 W. 13TH Street-Suite 100
Wilmington, DE 19801

Paxe Garden GP LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

Paxe Garden Limited Partnership
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109

Paxe Garden Limited Partnership
13 9 Ocean Avenue
Lakewood, NJ 08701




                                                                                                y, Esq.




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ptl@hplowry.com

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                                             U.S. District Court

                                          District of Connecticut

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The following transaction was entered on 6/12/2025 at 6:51 PM EDT and filed on 6/12/2025
Case Name:           145 Sisson Avenue, LLC v. Puretz
Case Number:         3:23-cv-00903-MPS
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Document Number: 76(No document attached)

Docket Text:
NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL
RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
IDENTIFICATION. Hearing re: Claims set for 8/25/2025 at 02:00 PM in Courtroom Three, 450
Main St., Hartford, CT before Judge Michael P Shea (Sichanh, C)


3:23-cv-00903-MPS Notice has been electronically mailed to:

Houston Putnam Lowry     ptl@hplowry.com, kcamara@fpllp.com

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